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Case 5:17-cr-00239-PA Document 7 Filed 12/13/17 CPE fee”

 

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UNITED STATES OF AMERICA

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REPORT COMMENCING CRIMINAL

Wi givin EB DWOADS DEFENDANT ACTION

 

 

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1.

2.

10.

11.

12.

14.

. Interpreter Required: D¥No [J Yes Language:

Date and time of arrest: | r| | _\ I> 7) .30 oam yok

The above named defendant is currently hospitalized and cannot be transported to court for arraignment or

any other preliminary proceeding: [[] Yes [KNo

. Defendant is in U.S. Marshals Service lock-up (in this court building): Des [] No

Charges tinder which defendant has been booked:

. Offense charged is a: Felony [J Minor Offense (1 Petty Offense [-] Other Misdemeanor

 

Year of Birth: | 17 3

Defendant has retained counsel: [J No
(J Yes Name: Phone Number:

 

 

Name of Pretrial Services Officer notified: th dhs ett: CLA
a

Remarks (if any):

 

Name: NX Voi zal gets 04-24\-9483 (please print)
d . —_—_—
Office Phone Number: 15\ 320 7Sy © 13. Agency: | -—

 

Signature: 15. Date:

 

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CR-64 (2/14) XY REPORT COMMENCING CRIMINAL ACTION
